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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN


LINDA LACOURT,                                        Case No.: 19-cv-1017

                     Plaintiff,
v.                                                    COMPLAINT

RADIUS GLOBAL SOLUTIONS LLC,

                    Defendant.


                                  PRELIMINARY STATEMENT

1.      This is an action brought under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (“FDCPA”). This law prohibits debt collectors from engaging in false, misleading and

unfair collection practices.

                                          JURISDICTION

2.      Jurisdiction of this Court arises out of events emanating from this District and this Court has

jurisdiction pursuant to 15 U.S.C. § 1692 et seq. and 28 U.S.C § 1331.

3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the conduct at

issue occurred in this District, Plaintiff resides in this District, and Defendant conducts business

in this district.

                                             PARTIES

4.      Plaintiff Linda Lacourt (hereinafter “Ms. Lacourt”) is a natural person who resides in Dane

County, State of Wisconsin, and is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

5.      Defendant Radius Global Solutions LLC (hereinafter “Defendant RGS”) is a foreign

business with offices located at 7831 Glenroy Rd, Ste 250, Edina, MN 55439, and a registered agent

of CT Corporation System, 301 S. Bedford St., Suite 1, Madison, WI 53703.


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6.      Defendant RGS is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).



                                   FACTUAL ALLEGATIONS
7.      Ms. Lacourt received a collection letter from Defendant RGS dated July 5, 2019.

8.      Defendant RGS was attempting to collect a debt on behalf of Citibank, N.A.

9.      The letter claims that the account balance at the date of the letter is $2,050.35.

10.     The letter further states, “[b]ecause of accruing interest, the amount due on this account

may be greater after the date of this letter.”

11.     Citibank, N.A. has reported this account to Ms. Lacourt’s credit file since April 2014.

12.     In June 2019, Citibank N.A. updated Ms. Lacourt’s credit file to reflect a balance of

$2,050.

13.     Since that time, Citibank N.A. has not changed the amount owed by Ms. Lacourt, thus the

balance is not accruing interest and has not changed since June 2019.

14.     Citibank N.A. reported as recently as October 2019 that the balance is $2,050.

15.     Pursuant to the FDCPA, consumers have a right to be free from illegal and unpermitted

collection actions.

16.     Pursuant to the FDCPA, consumers have a right to receive truthful collection letters that

do not contain false statements.

17.     Plaintiff contends that these false statements would materially mislead or confuse an

unsophisticated consumer in that they would be a factor in the decision-making process.

                                         TRIAL BY JURY

18.     Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. Amend. 7; Fed. R.

Civ. Pro. 38.



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                                       CAUSES OF ACTION

                                   COUNT I.
            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

19.        Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

20.        The foregoing acts and omissions of Defendant RGS constitute numerous and multiple

violations of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e, 1692e(2), 1692(5),

1692e(10), 1692f, and 1692f(1).

21.        As a result of Defendant RGS’s violations of the FDCPA, Plaintiff is entitled to actual

damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages pursuant to 15 U.S.C. §

1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).



WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

      A.   Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
      B.   Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
      C.   Costs and reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1692k(a)(3);
      D.   Such other and further relief as may be just and proper.


Dated this 16th day of December, 2019.            Respectfully submitted,

                                                  By: s/ Heidi N. Miller
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